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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION


PHYLLIS N. WILLIAMS-YOUNG,

              Plaintiff,

v.                                                         Case No. 3:20-cv-432-J-39PDB

SEQUIUM ASSET SOLUTIONS, LLC,

              Defendant.
                                          /

                                         ORDER

       THIS MATTER comes before the Court on the Notice of Settlement (Doc. 7;

Notice) filed on August 4, 2020. In the Notice, the parties advise the Court that this case

has been resolved. See Notice at 1.

       Accordingly, it is hereby

       ORDERED:

       1.     The Clerk of the Court is directed to terminate all pending motions and

administratively close this case pending further Order of the Court.

       2.     The parties shall have until October 5, 2020, to file a joint stipulated form

of final order or judgment or move this Court upon good cause to reopen the case.

       3.     If the parties have not so stipulated or moved the Court by the October 5,

2020 deadline, this case automatically will be dismissed without prejudice, and the Clerk

shall close the file without further order of the Court.

       4.     In light of the Notice of Settlement (Doc. 7), the Court’s Order to Show

Cause (Doc. 6) is DISCHARGED.
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      DONE and ORDERED in Jacksonville, Florida this 6th day of August, 2020.




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Copies furnished to:

Counsel of Record
Unrepresented Parties




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